                                                                               08/26/2024


     IN THE SUPREME COURT OF THE STATE OF MONTANA                          Case Number: DA 23-0327



                            No. DA 23-0327

STATE OF MONTANA,

           Plaintiff and Appellee,

     v.

STEVEN ERIC WALKS,

           Defendant and Appellant.

                                ORDER

     Upon consideration of Appellant’s motion for extension of time,

and good cause appearing therefore,

     IT IS HEREBY ORDERED that Appellant is granted an extension

of time to and including October 3, 2024, within which to prepare, file,

and serve his opening brief on appeal.




                                                                Electronically signed by:
                                                                      Mike McGrath
                                                         Chief Justice, Montana Supreme Court
                                                                     AugustORDER
                                                                            26 2024
